Case 23-10831-MFW   Doc 983-2   Filed 02/14/24   Page 1 of 29




                      EXHIBIT A
                       Case 23-10831-MFW                  Doc 983-2         Filed 02/14/24          Page 2 of 29




November 21, 2023


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period October 1, 2023 to
October 31, 2023 in the amount of $10,548.94 for the above referenced matter. Pursuant to our services
agreement, KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
                          Case 23-10831-MFW      Doc 983-2   Filed 02/14/24   Page 3 of 29




  November 21, 2023


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



US_KCC2612664 Lordstown Motor Corporation                                                    Page 2 of 10
                          Case 23-10831-MFW   Doc 983-2   Filed 02/14/24   Page 4 of 29




  November 21, 2023


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331




US_KCC2612664 Lordstown Motor Corporation                                                 Page 3 of 10
                                               Case 23-10831-MFW                                  Doc 983-2              Filed 02/14/24                 Page 5 of 29

                                                                          Kurtzman Carson Consultants LLC

  Account Number                                   71001FA                                                                              Invoice Date                   November 21, 2023

  Invoice Number                                   US_KCC2612664                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                   $10,548.94

                                                               Total of Hourly Fees                                                                   $10,548.94


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                       $10,548.94
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                       $10,548.94




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.


Account Number                                                     71001FA                         Check Payments to:                                      Wire Payments to:

Invoice Number                                      US_KCC2612664                                  Kurtzman Carson Consultants LLC                         Kurtzman Carson Consultants LLC
                                                                                                   Dept CH 16639                                           HSBC Bank, NA
Total Amount Due                                                $10,548.94
                                                                                                   Palatine, IL 60055-6639                                 452 Fifth Avenue, New York, NY 10018
                                                                                                                                                           Account # 000183571
Amount Paid                                $
                                                                                                                                                           FED ABA # 021001088
                                                                                                                                                           ACH Routing # 022000020
US_KCC2612664 Lordstown Motor Corporation                                                                                                                                                    Page 4 of 10
                             Case 23-10831-MFW        Doc 983-2     Filed 02/14/24     Page 6 of 29




                                            Kurtzman Carson Consultants LLC
                                                      10/01/2023 - 10/31/2023
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type     Hours          Rate           Total
AAE           Andres Estrada                                           SOL                 34.10      $201.75       $6,879.67
ASK           Ashley Kuarasingh                                        SOL                  5.50      $193.75       $1,065.70
CJI           Cooper Ide                                               TPC                  1.00       $76.75         $76.75
JEE           James Lee                                                SEC                  5.80      $201.75       $1,170.11
JMG           Jennifer Westwood                                        SOL                  1.90      $193.75        $368.12
KVR           Kevin Martin                                             SEC                  4.90      $201.75        $988.59


                                                                                           Total                $10,548.94




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                          Case 23-10831-MFW                            Doc 983-2                Filed 02/14/24   Page 7 of 29


                                             Kurtzman Carson Consultants LLC
                                                                      10/01/2023 - 10/31/2023

                                                                                 Time Detail

    Date       Employee                                           Description                                Position Type       Category            Hours
   10/2/2023       JEE     Coordinate with securities team re: creation of mailbox for ballot submission          SEC             Solicitation          0.30


                                                                                                                  Total for 10/2/2023                  0.30
   10/3/2023      AAE      Coordinate with KCC team and counsel regarding filed claims by equity holders          SOL             Solicitation          0.30
                           and classifying for voting purposes
   10/3/2023      KVR      Communication with A Estrada re: Class 7 Beneficial Holders as of the voting           SEC             Solicitation          0.40
                           record date will receive ballots from their nominee or third party proxy agent
                           and will be eligible to vote

                                                                                                                  Total for 10/3/2023                  0.70
   10/5/2023      AAE      Review solicitation procedures motion and update notes to prepare estimates            SOL             Solicitation          0.90
                           for counsel
   10/5/2023       CJI     Finalize schedules amendments in KCC CaseView                                          TPC          Schedules & SOFA         1.00


                                                                                                                  Total for 10/5/2023                  1.90
  10/11/2023      ASK      Phone conference with KCC GSG team re case status                                      SOL             Solicitation          0.10
  10/11/2023      KVR      Communication with A Estrada confirming securities team is prepared to                 SEC             Solicitation          0.30
                           complete Notice Rescheduled Disclosure Statement hearing same day

                                                                                                                  Total for 10/11/2023                 0.40
  10/13/2023      ASK      Coordinate with Mediant re Solicitation mailing to securities parties                  SOL             Solicitation          0.20
  10/13/2023      ASK      Coordinate with Broadridge re Solicitation mailing to securities parties               SOL             Solicitation          0.20
  10/13/2023      ASK      Prepare Broadridge JEF re Solicitation mailing to securities parties                   SOL             Solicitation          0.50


                                                                                                                  Total for 10/13/2023                 0.90
  10/16/2023      ASK      Phone conference with KCC GSG team re case status                                      SOL             Solicitation          0.10
  10/16/2023      ASK      Prepare DTC request letter re Solicitation mailing to securities parties               SOL             Solicitation          0.50
  10/16/2023      KVR      Communication with J Ngo re: contact at Equiniti for requesting common share           SEC             Solicitation          0.50
                           register

                                                                                                                  Total for 10/16/2023                 1.10
  10/17/2023      AAE      Coordinate with KCC team on newly proposed solicitation timeline                       SOL             Solicitation          0.80
  10/17/2023      AAE      Prepare voting amount spreadsheet; coordinate with KCC team re same                    SOL             Solicitation          1.10
  10/17/2023       JEE     Office conference with case team re: updated solicitation timeline                     SEC             Solicitation          0.30
  10/17/2023      ASK      Enter DTC lists onto excel spreadsheets                                                SOL             Solicitation          0.80
  10/17/2023      ASK      Phone conference with KCC GSG team re case status                                      SOL             Solicitation          0.10
  10/17/2023      KVR      Call with L Mezei re: revised proposed solicitation timeline and how it affects        SEC             Solicitation          0.50
                           equity beneficial holders

                                                                                                                  Total for 10/17/2023                 3.60
  10/18/2023      AAE      Review solicitation procedures and update voting amount spreadsheet related            SOL             Solicitation          0.60
                           to same
  10/18/2023      JMG      Review solicitation procedures and claims classifications                              SOL             Solicitation          1.90


                                                                                                                  Total for 10/18/2023                 2.50

US_KCC2612664 Lordstown Motor Corporation                                                                                                         Page 6 of 10
                          Case 23-10831-MFW                            Doc 983-2                Filed 02/14/24   Page 8 of 29

                                              Kurtzman Carson Consultants LLC
                                                                      10/01/2023 - 10/31/2023

                                                                                 Time Detail

    Date       Employee                                            Description                                Position Type       Category           Hours
  10/19/2023      AAE      Research precedent on 510b claims voting procedures                                     SOL             Solicitation         0.90
  10/19/2023      AAE      Review first amended Plan for solicitation preparations (.6); update notes and          SOL             Solicitation         1.40
                           coordinate with KCC team re same (.8)
  10/19/2023      AAE      Coordinate with KCC team regarding solicitation procedures                              SOL             Solicitation         1.20
  10/19/2023      AAE      Call with KCC securities team regarding classes 7-10                                    SOL             Solicitation         0.40
  10/19/2023       JEE     Review claims implicated in new class 8, 9 and 10                                       SEC             Solicitation         1.50
  10/19/2023       JEE     Call with case team re: prep for solicitation launch and implication of new             SEC             Solicitation         0.80
                           classes for voting and service of materials
  10/19/2023       JEE     Review updated plan and changes to voting classes, and implication on service           SEC             Solicitation         0.70
  10/19/2023       JEE     Office conference with securities team re: update on solicitation                       SEC             Solicitation         0.40
  10/19/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10
  10/19/2023      KVR      Communication with securities re: revised Plan and addition of Class 8, 9 and           SEC             Solicitation         0.50
                           10
  10/19/2023      KVR      Call with A Estrada to discuss revised equity Classes 8, 9 and 10                       SEC             Solicitation         0.40
  10/19/2023      KVR      Review of Amended Disclosure Statement and Plan for changes to equity                   SEC             Solicitation         0.50
                           classes
  10/19/2023      KVR      Call with securities team re: changes to Class 7, 8, 9 and 10 for solicitation          SEC             Solicitation         0.50
                           planning

                                                                                                                   Total for 10/19/2023                9.30
  10/20/2023      AAE      Prepare for and participate in Solicitation call with counsel                           SOL             Solicitation         0.70
  10/20/2023      AAE      Coordinate with KCC team on Plan classification updates and voting amount               SOL             Solicitation         1.00
                           spreadsheet
  10/20/2023      AAE      Review equity claims for 510(b) status for solicitation                                 SOL             Solicitation         3.90
  10/20/2023       JEE     Office conference with securities team re: update on solicitation                       SEC             Solicitation         0.20
  10/20/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10
  10/20/2023      KVR      Call with A Estrada re: review of call with counsel clarifying Class 8, 9 and 10        SEC             Solicitation         0.30
                           parties

                                                                                                                   Total for 10/20/2023                6.20
  10/21/2023      AAE      Review equity claims for 510(b) status for solicitation                                 SOL             Solicitation         2.20
  10/21/2023      AAE      Review and update voting amount spreadsheet                                             SOL             Solicitation         5.20


                                                                                                                   Total for 10/21/2023                7.40
  10/23/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10


                                                                                                                   Total for 10/23/2023                0.10
  10/24/2023      AAE      Review revised solicitation procedures and coordinate with KCC team on                  SOL             Solicitation         0.60
                           solicitation timing and deadlines
  10/24/2023      AAE      Review objections to DS motion and related documents in solicitation                    SOL             Solicitation         0.50
                           procedures
  10/24/2023      ASK      Coordinate with Mediant re updated Solicitation mailing voting record date              SOL             Solicitation         0.20
  10/24/2023      ASK      Coordinate with Broadridge re updated Solicitation mailing voting record date           SOL             Solicitation         0.20
  10/24/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10
  10/24/2023      ASK      Prepare Broadridge JEF re updated Solicitation mailing voting record date               SOL             Solicitation         0.50



US_KCC2612664 Lordstown Motor Corporation                                                                                                         Page 7 of 10
                          Case 23-10831-MFW                            Doc 983-2                Filed 02/14/24   Page 9 of 29

                                             Kurtzman Carson Consultants LLC
                                                                      10/01/2023 - 10/31/2023

                                                                                 Time Detail

    Date       Employee                                           Description                                 Position Type       Category           Hours

                                                                                                                   Total for 10/24/2023                2.10
  10/25/2023      AAE      Review revised solicitation timeline and coordinate with KCC team re same               SOL             Solicitation         1.20
                           (.9); correspondence with counsel re same (.3)
  10/25/2023      AAE      Coordinate with KCC team on draft securities ballots                                    SOL             Solicitation         0.40
  10/25/2023       JEE     Coordinate with case team re: solicitation of registered holders of equity              SEC             Solicitation         0.30
  10/25/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10
  10/25/2023      KVR      Communication with B Nakhaimousa at K&E confirming count on Class 8                     SEC             Solicitation         0.20
                           Opt-Out tabulation represents beneficial holders
  10/25/2023      KVR      Communication with A Estrada re: confirming securities team is comfortable              SEC             Solicitation         0.40
                           with 3 business days to tabulate vote
  10/25/2023      KVR      Review of revised solicitation timeline, provided comments to case team                 SEC             Solicitation         0.40


                                                                                                                   Total for 10/25/2023                3.00
  10/26/2023      AAE      Coordinate with KCC team on new solicitation timing and service specs                   SOL             Solicitation         0.30


                                                                                                                   Total for 10/26/2023                0.30
  10/27/2023      AAE      Update voting amount spreadsheet with counsel comments                                  SOL             Solicitation         0.60
  10/27/2023      AAE      Review and revise voting amount spreadsheet (2.2); prepare correspondence               SOL             Solicitation         2.60
                           and send updated version to counsel (.4)
  10/27/2023      AAE      Review equity claims for 510(b) status for solicitation                                 SOL             Solicitation         2.50


                                                                                                                   Total for 10/27/2023                5.70
  10/28/2023      AAE      Review revised solicitation procedures and class 10 opt out form (.9); call with        SOL             Solicitation         1.10
                           counsel re same (.2)

                                                                                                                   Total for 10/28/2023                1.10
  10/30/2023      AAE      Review class 10 election form                                                           SOL             Solicitation         0.20
  10/30/2023      AAE      Update voting amount spreadsheet related to class 10 and 8 solicitation                 SOL             Solicitation         1.40
                           procedures and Foxconn (1.1); coordinate with counsel re same (.3)
  10/30/2023       JEE     Office conference with securities team re: prep for solicitation launch                 SEC             Solicitation         0.30
  10/30/2023      ASK      Coordinate with Mediant re updated Solicitation mailing voting record date              SOL             Solicitation         0.20
  10/30/2023      ASK      Coordinate with Broadridge re updated Solicitation mailing voting record date           SOL             Solicitation         0.20
  10/30/2023      ASK      Prepare Broadridge JEF re updated Solicitation mailing voting record date               SOL             Solicitation         0.50
  10/30/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10


                                                                                                                   Total for 10/30/2023                2.90
  10/31/2023      AAE      Review correspondence from counsel on updated solicitation timing and                   SOL             Solicitation         0.50
                           planning; coordinate with KCC team re same
  10/31/2023      AAE      Prepare updated voting amount spreadsheet and list of open solicitation items           SOL             Solicitation         1.10
  10/31/2023      AAE      Review revised amended Plan, solicitation procedures and ballots                        SOL             Solicitation         0.50
  10/31/2023       JEE     Review solicitation procedures for solicitation launch on class 7 equity holders        SEC             Solicitation         0.70
  10/31/2023       JEE     Office conference with securities team re: prep for solicitation launch                 SEC             Solicitation         0.30
  10/31/2023      ASK      Prepare DTC request letter re Solicitation mailing to securities parties                SOL             Solicitation         0.50
  10/31/2023      ASK      Phone conference with KCC GSG team re case status                                       SOL             Solicitation         0.10


US_KCC2612664 Lordstown Motor Corporation                                                                                                         Page 8 of 10
                         Case 23-10831-MFW          Doc 983-2      Filed 02/14/24   Page 10 of 29

                                            Kurtzman Carson Consultants LLC
                                                     10/01/2023 - 10/31/2023

                                                            Time Detail

    Date       Employee                            Description                  Position Type       Category      Hours

                                                                                     Total for 10/31/2023           3.70

                                                                                     Total Hours                  53.20




US_KCC2612664 Lordstown Motor Corporation                                                                      Page 9 of 10
                         Case 23-10831-MFW          Doc 983-2     Filed 02/14/24     Page 11 of 29

                                            Kurtzman Carson Consultants LLC
                                                    10/01/2023 - 10/31/2023
                                                          Expenses
Description                                                                        Units               Rate     Amount



                                                                                           Total Expenses




US_KCC2612664 Lordstown Motor Corporation                                                                     Page 10 of 10
                       Case 23-10831-MFW                 Doc 983-2         Filed 02/14/24          Page 12 of 29




January 5, 2024


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period November 1, 2023 to
November 30, 2023 in the amount of $14,552.96 for the above referenced matter. Pursuant to our services
agreement, KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
                         Case 23-10831-MFW       Doc 983-2   Filed 02/14/24   Page 13 of 29




  January 5, 2024


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
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  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



US_KCC2647731 Lordstown Motor Corporation                                                     Page 2 of 10
                         Case 23-10831-MFW   Doc 983-2   Filed 02/14/24   Page 14 of 29




  January 5, 2024


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Deborah Kovsky-Apap
  Troutman Pepper Hamilton Sanders LLP
  875 Third Avenue
  New York NY 10022




US_KCC2647731 Lordstown Motor Corporation                                                 Page 3 of 10
                                            Case 23-10831-MFW                                   Doc 983-2               Filed 02/14/24                 Page 15 of 29

                                                                          Kurtzman Carson Consultants LLC

  Account Number                                   71001FA                                                                              Invoice Date                   January 5, 2024

  Invoice Number                                   US_KCC2647731                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                   $14,552.96

                                                               Total of Hourly Fees                                                                   $14,552.96


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                       $14,552.96
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                       $14,552.96




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.


Account Number                                                     71001FA                         Check Payments to:                                      Wire Payments to:

Invoice Number                                      US_KCC2647731                                  KCC Global Administration - Restructuring               KCC Global Administration - Restructuring
                                                                                                   Department 2211                                         Grasshopper Bank, N.A.
Total Amount Due                                                $14,552.96
                                                                                                   PO Box 4110                                             261 5th Avenue Suite 610
                                                                                                   Woburn, MA 01888-4110                                   New York, NY 10016
Amount Paid                                $
                                                                                                                                                           Account # 02329451396
                                                                                                                                                           FED ABA # 026015024
US_KCC2647731 Lordstown Motor Corporation                                                                                                                                                     Page 4 of 10
                             Case 23-10831-MFW       Doc 983-2      Filed 02/14/24     Page 16 of 29




                                            Kurtzman Carson Consultants LLC
                                                      11/01/2023 - 11/30/2023
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type      Hours          Rate           Total
AAE           Andres Estrada                                           SOL                 33.30       $201.75       $6,718.25
ASK           Ashley Kuarasingh                                        SOL                  0.20       $193.75         $38.75
JCN           Jacqueline Conklin                                       SOL                  1.00       $193.75        $193.75
JEE           James Lee                                                SEC                  4.80       $201.75        $968.39
JMG           Jennifer Westwood                                        SOL                 15.60       $193.75       $3,022.50
JNG           Jennifer Ngo                                             SEC                 10.00       $201.75       $2,017.48
KVR           Kevin Martin                                             SEC                  7.90       $201.75       $1,593.84


                                                                                            Total                $14,552.96




US_KCC2647731 Lordstown Motor Corporation                                                                          Page 5 of 10
                         Case 23-10831-MFW                             Doc 983-2             Filed 02/14/24    Page 17 of 29


                                              Kurtzman Carson Consultants LLC
                                                                        11/01/2023 - 11/30/2023

                                                                                 Time Detail

    Date       Employee                                               Description                           Position Type       Category           Hours
   11/1/2023      AAE      Review DS Order and prepare solicitation comments                                     SOL             Solicitation         2.80
   11/1/2023      AAE      Call with counsel regarding UCC and Equity Committee letters and solicitation         SOL             Solicitation         0.10
                           timing
   11/1/2023      AAE      Update voting amount spreadsheet with counsel comments                                SOL             Solicitation         2.80
   11/1/2023      AAE      Review and finalize voting certification                                              SOL             Solicitation         0.30
   11/1/2023      KVR      Communication with D Kim re: solicitation mailing timeline and deadline for           SEC             Solicitation         0.50
                           final solicitation materials to ensure service completed by 11/8
   11/1/2023      KVR      Communication with A Estrada re: recent shareholder file and column with              SEC             Solicitation         0.40
                           number of shares for registered holder custom ballots

                                                                                                                 Total for 11/1/2023                 6.90
   11/2/2023      AAE      Review Plan and setup voting classes in KCC CaseView                                  SOL             Solicitation         0.60
   11/2/2023      AAE      Call with counsel regarding solicitation update and timing                            SOL             Solicitation         0.20
   11/2/2023      AAE      Coordinate with KCC team on final solicitation documents, updated timing and          SOL             Solicitation         0.30
                           deadlines
   11/2/2023      AAE      Review precedent of letters directing creditors to public access website for          SOL             Solicitation         1.00
                           solicitation materials and prepare draft letter
   11/2/2023      AAE      Update voting amount spreadsheet with new filed claims and aggregate voting           SOL             Solicitation         2.00
                           amounts
   11/2/2023       JEE     Review solicitation package items for class 7 equity holders                          SEC             Solicitation         0.60
   11/2/2023       JEE     Emails with case team re: solicitation package questions                              SEC             Solicitation         0.30


                                                                                                                 Total for 11/2/2023                 5.00
   11/3/2023      AAE      Review solicitation documents related to KCC contact information and prepare          SOL             Solicitation         1.70
                           comments
   11/3/2023      AAE      Coordinate with KCC securities team on solicitation notices and ballots               SOL             Solicitation         0.70
   11/3/2023      AAE      Finalize and importing voting amount spreadsheet into CaseView                        SOL             Solicitation         1.20
   11/3/2023       JEE     Review draft solicitation documents from counsel                                      SEC             Solicitation         2.30
   11/3/2023      JNG      Review final solicitation materials and provide comments to the Class 7 master        SEC             Solicitation         1.20
                           and beneficial ballots
   11/3/2023      JNG      Review solicitation procedures and all documents to be included to equity             SEC             Solicitation         0.80
                           holders
   11/3/2023      JNG      Team meeting re solicitation launch and materials needed for Class 7 equity           SEC             Solicitation         0.30
                           holders

                                                                                                                 Total for 11/3/2023                 8.20
   11/5/2023      AAE      Import voting records into CaseView and generate ballot records                       SOL             Solicitation         1.40
   11/5/2023      AAE      Finalize voting classes and prepare for import into CaseView                          SOL             Solicitation         1.80
   11/5/2023      JMG      Setup eballot website in KCC CaseView                                                 SOL             Solicitation         1.20


                                                                                                                 Total for 11/5/2023                 4.40
   11/6/2023       JEE     Additional review and comments to draft solicitation documents                        SEC             Solicitation         1.00
   11/6/2023      JNG      Team meeting re solicitation mailing and final draft edits                            SEC             Solicitation         0.40


                                                                                                                 Total for 11/6/2023                 1.40
   11/7/2023      AAE      Review solicitation procedures and ballots instructions related to debtor by          SOL             Solicitation         1.20
                           debtor tabulation
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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                          Description                              Position Type       Category           Hours
   11/7/2023      AAE      Correspondence with counsel re to debtor by debtor tabulation                       SOL             Solicitation         0.60
   11/7/2023      AAE      Coordinate with KCC team on eBallot setup                                           SOL             Solicitation         0.30
   11/7/2023      JMG      Setup eballot website in KCC CaseView                                               SOL             Solicitation         3.10
   11/7/2023      JNG      Team meeting re status of solicitation mailing and remaining electronic mail        SEC             Solicitation         0.30
                           service to equity holders

                                                                                                               Total for 11/7/2023                 5.50
   11/8/2023      AAE      Coordinate with KCC team on finalizing electronic balloting setup and test          SOL             Solicitation         3.40
                           ballots
   11/8/2023      AAE      Quality control review of eBallot portal and website updates                        SOL             Solicitation         0.30
   11/8/2023      AAE      Coordinate with KCC team on open solicitation items                                 SOL             Solicitation         1.20
   11/8/2023      JMG      Setup plan, voting classes, and ballot questions in KCC CaseView                    SOL             Solicitation         0.50
   11/8/2023      JMG      Setup eballot website in KCC CaseView                                               SOL             Solicitation         9.90
   11/8/2023      KVR      Communication with A Kuarsingh re: request to send DTC Disclosure                   SEC             Solicitation         0.40
                           Statement and Plan for announcing Class 7 voting event
   11/8/2023      JNG      Team meeting re solicitation mailing to equity holders                              SEC             Solicitation         0.20


                                                                                                               Total for 11/8/2023                15.90
   11/9/2023      AAE      Review voting amount spreadsheet for voting amounts related to counsel's            SOL             Solicitation         0.10
                           question
   11/9/2023      AAE      Review and update ballot questions in KCC CaseView                                  SOL             Solicitation         0.40
   11/9/2023      AAE      Follow up with KCC team on open solicitation items                                  SOL             Solicitation         0.20
   11/9/2023      ASK      Respond to inquiry re solicitation                                                  SOL             Solicitation         0.20
   11/9/2023      JMG      Setup plan, voting classes, and ballot questions in KCC CaseView                    SOL             Solicitation         0.90
   11/9/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials               SEC             Solicitation         1.20


                                                                                                               Total for 11/9/2023                 3.00
  11/10/2023      AAE      Review KCC team updates to claim amounts and natures and incorporate into           SOL             Solicitation         0.60
                           voting amount spreadsheet
  11/10/2023      AAE      Prepare and send voting amount spreadsheet and comments to counsel                  SOL             Solicitation         1.80
  11/10/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials               SEC             Solicitation         0.30
  11/10/2023      JNG      Team meeting re status of solicitation event and inquiries                          SEC             Solicitation         0.10


                                                                                                               Total for 11/10/2023                2.80
  11/12/2023      KVR      Communication with S Kaul re: KCC declaration and declarant for class action        SEC             Solicitation         0.40
                           shareholder service

                                                                                                               Total for 11/12/2023                0.40
  11/13/2023      KVR      Call with counsel re: declaration and KCC declarant for class action                SEC             Solicitation         0.50
                           shareholder service
  11/13/2023      KVR      Forwarded Disclosure Statement and Plan to R Giordano at DTC Mandatory              SEC             Solicitation         0.30
                           Reorg team per request
  11/13/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials               SEC             Solicitation         0.40
  11/13/2023      JNG      Team meeting re status of solicitation event and inquiries                          SEC             Solicitation         0.20


                                                                                                               Total for 11/13/2023                1.40
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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                           Description                              Position Type       Category           Hours
  11/14/2023       JEE     Respond to inquiries from nominees re: master ballots for voting                     SEC             Solicitation         0.60
  11/14/2023      KVR      Communication w/D Kim re: company can ignore letter from Broadridge                  SEC             Solicitation         0.60
                           generated prior to October 31 Voting Record Date; forward screen shot of
                           Broadridge ICS Online Campaign with summary of solicitation job with October
                           31, 2023 voting record date

                                                                                                                Total for 11/14/2023                1.20
  11/16/2023      AAE      Coordinate with KCC team on Foxconn Class 7 ballots                                  SOL             Solicitation         0.20
  11/16/2023      AAE      Correspondence with counsel to Foxconn re voting and non-voting claims               SOL             Solicitation         0.30
  11/16/2023      AAE      Review Foxconn claims/schedules and classifications for voting on the plan           SOL             Solicitation         1.10
                           and prepare summary
  11/16/2023      KVR      Review of inquiry from F Simard at BNC, forward Class 7 Equity solicitation          SEC             Solicitation         0.50
                           materials

                                                                                                                Total for 11/16/2023                2.10
  11/17/2023      JNG      Team meeting re solicitation mailing status and ballot inbox monitoring              SEC             Solicitation         0.30
                           procedures

                                                                                                                Total for 11/17/2023                0.30
  11/20/2023      AAE      Review ballots input into KCC CaseView                                               SOL             Solicitation         0.50
  11/20/2023      AAE      Prepare voting summary, debtor summary and detailed reports for counsel              SOL             Solicitation         1.50
  11/20/2023      KVR      Review of Lordstown Ballot email box, communication with A Estrada no                SEC             Solicitation         0.70
                           master ballots received and not anticipated until 12/12 voting deadline
  11/20/2023      JNG      Correspond with case team re current vote summary for equity holders in Class        SEC             Solicitation         0.30
                           7
  11/20/2023      JNG      Team meeting re upcoming solicitation deadline                                       SEC             Solicitation         0.10


                                                                                                                Total for 11/20/2023                3.10
  11/21/2023      JNG      Monitor ballot inbox for inquiries and incoming Class 7 ballots                      SEC             Solicitation         0.60
  11/21/2023      JNG      Team meeting re upcoming solicitation deadline                                       SEC             Solicitation         0.20


                                                                                                                Total for 11/21/2023                0.80
  11/22/2023      KVR      Communication with A Estrada that Foxconn should contact their custodian for         SEC             Solicitation         0.40
                           their Class 7 solicitation materials
  11/22/2023      JNG      Team meeting re upcoming deadline and hearing preparations                           SEC             Solicitation         0.20


                                                                                                                Total for 11/22/2023                0.60
  11/27/2023      AAE      Prepare updated voting summary for counsel                                           SOL             Solicitation         1.00
  11/27/2023      AAE      Review ballots input into KCC CaseView                                               SOL             Solicitation         0.30
  11/27/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot             SEC             Solicitation         1.00
                           submissions
  11/27/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation            SEC             Solicitation         0.30
                           materials as requested
  11/27/2023      JNG      Team meeting re solicitation deadline and material request from nominees             SEC             Solicitation         0.20


                                                                                                                Total for 11/27/2023                2.80


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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                           Description                                Position Type       Category           Hours
  11/28/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot               SEC             Solicitation         0.50
                           submissions
  11/28/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.50
                           materials as requested

                                                                                                                  Total for 11/28/2023                1.00
  11/29/2023      AAE      Prepare updated voting summary for counsel                                             SOL             Solicitation         1.00
  11/29/2023      AAE      Coordinate with KCC team on solicitation to Class 7 holders                            SOL             Solicitation         0.10
  11/29/2023      AAE      Review ballots input into KCC CaseView                                                 SOL             Solicitation         0.30
  11/29/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot               SEC             Solicitation         0.50
                           submissions
  11/29/2023      KVR      Review of inquiry from counsel regarding equity solicitation service, provided         SEC             Solicitation         0.70
                           screenshots of Broadridge ICS Client site with confirmation of receipt of Class
                           7 solicitation materials and mailing of solicitation materials
  11/29/2023      KVR      Review of Broadridge ICS Client site for DTC No 0019 Jefferies party counts,           SEC             Solicitation         0.50
                           service methods and contact, forwarded to counsel for confirmation equity
                           committee chairman served and who to contact at Jefferies for additional
                           questions
  11/29/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.40
                           materials as requested

                                                                                                                  Total for 11/29/2023                3.50
  11/30/2023      JCN      Administrative quality control review of ballots input into KCC CaseView               SOL             Solicitation         1.00
  11/30/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.70
                           materials as requested
  11/30/2023      JNG      Respond to nominee inquiries re solicitation materials                                 SEC             Solicitation         0.80


                                                                                                                  Total for 11/30/2023                2.50

                                                                                                                  Total Hours                       72.80




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                                            Kurtzman Carson Consultants LLC
                                                    11/01/2023 - 11/30/2023
                                                          Expenses
Description                                                                        Units               Rate     Amount



                                                                                           Total Expenses




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January 19, 2024


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period December 1, 2023 to
December 31, 2023 in the amount of $6,279.24 for the above referenced matter. Pursuant to our services
agreement, KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
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  January 19, 2024


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



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  January 19, 2024


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Deborah Kovsky-Apap
  Troutman Pepper Hamilton Sanders LLP
  875 Third Avenue
  New York NY 10022




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                                                                          Kurtzman Carson Consultants LLC

  Account Number                                   71001FA                                                                              Invoice Date                   January 19, 2024

  Invoice Number                                   US_KCC2647729                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                     $6,279.24

                                                               Total of Hourly Fees                                                                    $6,279.24


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                        $6,279.24
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                         $6,279.24




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.


Account Number                                                     71001FA                         Check Payments to:                                      Wire Payments to:

Invoice Number                                      US_KCC2647729                                  KCC Global Administration - Restructuring               KCC Global Administration - Restructuring
                                                                                                   Department 2211                                         Grasshopper Bank, N.A.
Total Amount Due                                                  $6,279.24
                                                                                                   PO Box 4110                                             261 5th Avenue Suite 610
                                                                                                   Woburn, MA 01888-4110                                   New York, NY 10016
Amount Paid                                $
                                                                                                                                                           Account # 02329451396
                                                                                                                                                           FED ABA # 026015024
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                                            Kurtzman Carson Consultants LLC
                                                      12/01/2023 - 12/31/2023
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type      Hours          Rate          Total
AAE           Andres Estrada                                           SOL                 19.60       $201.75      $3,954.24
ASK           Ashley Kuarasingh                                        SOL                 11.50       $193.75      $2,228.12
JCN           Jacqueline Conklin                                       SOL                  0.50       $193.75        $96.88


                                                                                            Total                $6,279.24




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                                             Kurtzman Carson Consultants LLC
                                                                      12/01/2023 - 12/31/2023

                                                                                 Time Detail

    Date       Employee                                           Description                                Position Type       Category         Hours
   12/5/2023      AAE      Review solicitation procedures order related to omnibus objections and                 SOL             Solicitation        0.40
                           disputed claims rules
   12/5/2023      AAE      Prepare updated voting summary and detail reports                                      SOL             Solicitation        1.00
   12/5/2023      AAE      Review ballots input into CaseView                                                     SOL             Solicitation        0.30


                                                                                                                  Total for 12/5/2023                1.70
   12/6/2023      AAE      Update voting amount spreadsheet with claims objections information                    SOL             Solicitation        0.30


                                                                                                                  Total for 12/6/2023                0.30
   12/7/2023      AAE      Prepare updated voting summary and detail reports                                      SOL             Solicitation        1.10
   12/7/2023      AAE      Review ballots input into CaseView                                                     SOL             Solicitation        0.40


                                                                                                                  Total for 12/7/2023                1.50
   12/8/2023      ASK      Process Master Ballots received                                                        SOL             Solicitation        0.80
   12/8/2023      ASK      Tabulate Master Ballots received                                                       SOL             Solicitation        1.50


                                                                                                                  Total for 12/8/2023                2.30
  12/11/2023      AAE      Review solicitation procedures order and voting declaration                            SOL             Solicitation        0.70
  12/11/2023      AAE      Prepare second updated summary and detail reports for counsel                          SOL             Solicitation        1.40
  12/11/2023      AAE      Prepare updated voting summary for counsel                                             SOL             Solicitation        0.70
  12/11/2023      AAE      Review ballots input into CaseView                                                     SOL             Solicitation        0.70
  12/11/2023      AAE      Coordinate ballot processing in CaseView                                               SOL             Solicitation        0.20
  12/11/2023      AAE      Prepare Unsecured Creditor Committee member voting details                             SOL             Solicitation        0.40


                                                                                                                  Total for 12/11/2023               4.10
  12/12/2023      AAE      Prepare preliminary voting summary for counsel                                         SOL             Solicitation        0.90
  12/12/2023      AAE      Review ballots input into CaseView                                                     SOL             Solicitation        0.30
  12/12/2023      AAE      Coordinate with KCC team on ballot processing                                          SOL             Solicitation        0.40
  12/12/2023      AAE      Prepare updated voting summary and detailed reports including securities               SOL             Solicitation        2.30
                           votes
  12/12/2023      AAE      Review solicitation procedures related to class 10 election                            SOL             Solicitation        0.20
  12/12/2023      ASK      Process Master Ballots received                                                        SOL             Solicitation        3.20
  12/12/2023      ASK      Tabulate Master Ballots received                                                       SOL             Solicitation        4.80
  12/12/2023      ASK      Coordinate with banks and brokers re receipt of master ballots                         SOL             Solicitation        1.20
  12/12/2023      JCN      Administrative quality control review of ballots input into KCC CaseView               SOL             Solicitation        0.50


                                                                                                                  Total for 12/12/2023             13.80
  12/13/2023      AAE      Review and finalize tabulation and detail reports                                      SOL             Solicitation        2.00
  12/13/2023      AAE      Coordinate with counsel and KCC team on class 10 voting extension and                  SOL             Solicitation        0.20
                           finalizing tabulation

                                                                                                                  Total for 12/13/2023               2.20
  12/18/2023      AAE      Prepare summary of director and officer voting records                                 SOL             Solicitation        0.80
  12/18/2023      AAE      Prepare for and participate in voting tabulation call with counsel                     SOL             Solicitation        0.40

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                                              Kurtzman Carson Consultants LLC
                                                                       12/01/2023 - 12/31/2023

                                                                                  Time Detail

    Date       Employee                                            Description                              Position Type       Category         Hours
  12/18/2023      AAE      Prepare electronic balloting details for directors and officers                       SOL             Solicitation        1.10
  12/18/2023      AAE      Prepare copies of ballots per counsel request                                         SOL             Solicitation        0.70
  12/18/2023      AAE      Review late filed ballot summary for counsel                                          SOL             Solicitation        0.80
  12/18/2023      AAE      Coordinate with counsel and KCC team on voting summary                                SOL             Solicitation        0.30


                                                                                                                 Total for 12/18/2023               4.10
  12/19/2023      AAE      Review D&O late votes and update tracking sheet and coordinate with counsel           SOL             Solicitation        0.70
                           re same

                                                                                                                 Total for 12/19/2023               0.70
  12/20/2023      AAE      Coordinate with counsel on voting declaration related to opt in elections             SOL             Solicitation        0.30
  12/20/2023      AAE      Correspondence with counsel regarding voting deadline extensions                      SOL             Solicitation        0.10
  12/20/2023      AAE      Review for late filed ballots and coordinate with counsel re same                     SOL             Solicitation        0.30


                                                                                                                 Total for 12/20/2023               0.70
  12/21/2023      AAE      Update tracking sheet with late filed ballots                                         SOL             Solicitation        0.20


                                                                                                                 Total for 12/21/2023               0.20

                                                                                                                 Total Hours                      31.60




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                                            Kurtzman Carson Consultants LLC
                                                    12/01/2023 - 12/31/2023
                                                          Expenses
Description                                                                        Units               Rate   Amount



                                                                                           Total Expenses




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